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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )          8:04CR164
                                        )
            Plaintiff,                  )
                                        )          MEMORANDUM
vs.                                     )          AND ORDER
                                        )
SUZANNE CRANE,                          )
                                        )
            Defendant.                  )

      On the court’s own motion,

      IT IS ORDERED that Defendant Crane’s evidentiary hearing and sentencing
before the undersigned United States district judge are rescheduled to Friday, May
27, 2005, from 1:00-2:30 p.m., in the Special Proceedings Courtroom, 4th Floor,
Roman L. Hruska United States Courthouse, Omaha, Nebraska. Since this is a
criminal case, the defendant shall be present unless excused by the court.

      DATED this 21st day of April, 2005.

                                            BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
